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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                        )
 CAUSE OF ACTION INSTITUTE,
                                                        )
                         Plaintiff,                     )
                                                        )
                          v.                            )
                                                        ) Civil Action No. 19-1927 (TSC)
 NATIONAL OCEANIC AND                                   )
 ATMOSPHERIC ADMINISTRATION,                            )
                                                        )
                         Defendant.                     )
                                                        )


                                              ANSWER

       Defendant, National Oceanic and Atmospheric Administration (“Defendant” or “NOAA”),

by and through undersigned counsel, hereby answers the Complaint filed by Cause of Action

Institute (“Plaintiff” or “COA”), as follows.

                                             DEFENSES

       1.       Some or all of the information sought by Plaintiffs is exempt from release under

one or more exemptions of the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552(b).

       2.       Plaintiff has failed to state a claim upon which relief may be granted under FOIA.

       3.       FOIA does not require the disclosure of information exempt from disclosure

pursuant to 5 U.S.C. § 552(b).

       5.       Plaintiff is neither eligible nor entitled to attorneys’ fees or costs.

       6.       At all times alleged in the Complaint, Defendant was acting in good faith, with

justification, and pursuant to authority.

       7.       Defendant respectfully reserves the right to amend, alter, and supplement the

defenses contained in this Answer as the facts and circumstances giving rise to the Complaint
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become known to Defendant through the course of the litigation, including to assert any other

matter that constitutes an avoidance or affirmative defense under Federal Rule of Civil Procedure

8(c).

             DEFENDANT’S RESPONSES TO THE NUMBERED PARAGRAPHS

        Defendant denies all allegations in the Complaint, including the relief sought, except

when specifically admitted in this Answer. Defendant responds as follows:

        1.       Paragraph 1 consists of Plaintiff’s characterization of this lawsuit, to which no

response is required. To the extent a response is deemed required, Defendant admits that Plaintiff

brings this action under the FOIA.

        2.       Defendant admits only that Plaintiff submitted a FOIA request at issue in this

complaint. The remainder of Paragraph 2 contains Plaintiff’s characterization of a fishery

management plan amendment to which no response is required. Defendant respectfully refers the

Court to Plaintiff’s FOIA request for a complete and accurate statement of its contents.

        3.       Defendant admits that it has issued two interim responses to Plaintiff’s FOIA

request. Defendant further avers that a final determination was provided on July 1, 2019, before

the complaint was served on Defendant. The remainder of Paragraph 3 consists of Plaintiff’s

characterization of records and conclusions of law to which no response is required.

                                 JURISDICTION AND VENUE 1

        4.       Paragraph 4 consists of legal conclusions regarding jurisdiction to which no

response is required.




1
 For ease of reference, the Answer refers to the headings listed in the Complaint. Defendant has
not responded to those headings on the understanding that the headings are not factual allegations.
To the extent a response is required to the headings, Defendant denies them.
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       5.       Paragraph 5 consists of legal conclusions regarding venue, to which no response is

required.

                                             PARTIES

       6.       Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 6.

       7.       Defendant denies that NOAA is an agency as defined by Title 5, Chapter 5,

Subchapter II. The remainder of the allegations in Paragraph 7 consist of legal conclusions to

which no response is required. To the extent a response is deemed necessary, Defendant admits

that it has documents responsive to Plaintiff’s FOIA requests at issue in this complaint.

                                               FACTS

I.     The New England Industry-Funded Monitoring Omnibus Amendment

       8.       The allegations in Paragraph 8 are irrelevant to the claims at issue in this suit.

       9.       The allegations in Paragraph 9 are irrelevant to the claims at issue in this suit.

       10.      The allegations in Paragraph 10 are irrelevant to the claims at issue in this suit.

       11.      The allegations in Paragraph 11 are irrelevant to the claims at issue in this suit.

       12.      The allegations in Paragraph 12 are irrelevant to the claims at issue in this suit.

       13.      The allegations in Paragraph 13 are irrelevant to the claims at issue in this suit.

II.    CoA Institute’s FOIA Request

       14.      Defendant admits that NOAA received a FOIA request from Plaintiff on January 7,

2019, and respectfully refers the Court to that request for a full and complete description of its

contents.




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       15.     The allegations in Paragraph 15 consist of Plaintiff’s characterization of its FOIA

request. Defendant respectfully refers the Court to the request for a complete and accurate

representation of its contents.

       16.      The allegations in Paragraph 16 consist of Plaintiff’s characterization of its FOIA

request. Defendant respectfully refers the Court to the request for a complete and accurate

representation of its contents.

       17.     The allegations in Paragraph 17 consist of Plaintiff’s characterization of its FOIA

request. Defendant respectfully refers the Court to the request for a complete and accurate

representation of its contents.

       18.     The allegations in Paragraph 18 consist of Plaintiff’s characterization of its FOIA

request. Defendant respectfully refers the Court to the request for a complete and accurate

representation of its contents.

       19.     Admit. Defendant respectfully refers the Court to the February 4, 2019 letter for a

complete and accurate representation of its contents.

       20.     Admit. Defendant respectfully refers the Court to the February 4, 2019 letter for a

complete and accurate representation of its contents.

       21.     Admit. Defendant respectfully refers the Court to the February 4, 2019 letter for a

complete and accurate representation of its contents.

       22.     Admit. Defendant respectfully refers the Court to the March 21, 2019 letter for a

complete and accurate representation of its contents.

       23.     Admit. Defendant respectfully refers the Court to the June 21, 2019 letter for a

complete and accurate representation of its contents.




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        24.     Defendant admits that, as of the date of the filing of the Complaint (June 27, 2019),

NOAA had not yet issued a release beyond the first two interim releases or a final determination.

Defendant avers that it issued an additional release of 23 records and a final determination on

July 1, 2019.

                                             COUNT I

        25.     Defendant incorporates by reference its responses to all preceding paragraphs.

        26.     Paragraph 26 consists of Plaintiff’s characterization of FOIA to which no response

is required.

        27.     Paragraph 27 consists of Plaintiff’s characterization of FOIA to which no response

is required.

        28.     Paragraph 28 consists of legal conclusions to which no response is required.

        29.     Paragraph 29 consists of legal conclusions to which no response is required.

        30.     Paragraph 30 consists of legal conclusions to which no response is required.

        31.     Paragraph 31 consists of legal conclusions to which no response is required.

                                     RELIEF REQUESTED

        The remaining paragraphs set forth Plaintiff’s requests for relief, to which no response is

required. To the extent a response is deemed required, Defendant denies that Plaintiff is entitled to

the relief requested.

Dated: August 1, 2019                         Respectfully submitted,

                                              JESSIE K. LIU
                                              United States Attorney
                                              D.C. Bar #472845

                                              DANIEL F. VAN HORN
                                              Chief, Civil Division
                                              D.C. Bar #924092

                                       By:    /s/ Matthew E. Kahn

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